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                                  EXHIBIT A

                                (Proposed Order)
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UNITED STATES BANKRUPTCY COURT
NORTHERN DISTRICT OF NEW YORK

In re:
                                                     Case No. 15-31160 (MCR)
COYNE INTERNATIONAL ENTERPRISES
CORP.,                                               Chapter 11

                       Debtor.1



                  ORDER CONVERTING THIS CHAPTER 11 CASE
            TO A CASE UNDER CHAPTER 7 OF THE BANKRUPTCY CODE

         Upon consideration of the motion of Medley Opportunity Fund II LP (“Medley”) for

entry of an order, pursuant to section 1112(b) of the Bankruptcy Code, converting the chapter 11

bankruptcy case of Coyne International Enterprises Corp. (the “Debtor”) to a case under chapter




1
    The last four numbers of the Debtor’s taxpayer identification number are 0758. The Debtor’s address
    is 140 Cortland Avenue, Syracuse, New York 13202.
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7 of the Bankruptcy Code (the “Motion”);2 and the Court having jurisdiction to consider the

Motion and the relief requested therein pursuant to 28 U.S.C. §§ 157 and 1334; and this being a

core proceeding pursuant to 28 U.S.C. § 157(b)(2); and venue being proper in this District

pursuant to 28 U.S.C. §§ 1408 and 1409; and sufficient notice of the Motion having been given

under the circumstances; and it appearing that no other or further notice need be given; and upon

the Motion and based on the record in this case and at the hearing in consideration of the same,

and upon all of the proceedings had before the Court, the Court having found and determined

that the legal and factual bases set forth in the Motion and at the hearing establish just cause for

the relief granted herein and that the relief sought in the Motion is in the best interests of the

Debtor, its creditors, and all parties in interest; and after due deliberation and sufficient cause

appearing therefore:

        IT IS HEREBY ORDERED, ADJUDGED, AND DECREED THAT:

        1.      The Motion is GRANTED as set forth herein.

        2.      The above-captioned chapter 11 case is hereby converted, pursuant to section

1112(b) of the Bankruptcy Code, to a case under chapter 7 of the Bankruptcy Code.

        3.      The Debtor shall:

                    a. Forthwith turn over to the chapter 7 trustee, once one is appointed, all

                        records and property of the estate under its possession or control as

                        required by Rule 1019(4) of the Federal Rules of Bankruptcy Procedure

                        (the “Bankruptcy Rules”);

                    b. Within fourteen (14) days of the date of this Order, file a schedule of

                        unpaid debts incurred after the filing of the petition and before conversion


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    Capitalized terms used but not defined herein have the meanings ascribed to them in the Motion.



                                                   2
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                      of the case, including the name and address of each holder of a claim, as

                      required by Bankruptcy Rule 1019(5);

                   c. Within fourteen (14) days of the date of this Order, file the statements and

                      schedules required by Bankruptcy Rules 1019(1)(A) and 1007(b), if such

                      documents have not already been filed; and

                   d. Within thirty (30) days from the date of this Order, file and transmit to the

                      Office of the United States Trustee for the Northern District of New York

                      a final report and account as required by Bankruptcy Rule 1019(5).

       4.      This Court shall retain jurisdiction to hear and determine all matters arising from

or related to the implementation, interpretation or enforcement of this Order.

       5.      Notwithstanding any Bankruptcy Rule to the contrary, this Order shall be

immediately effective and enforceable upon its entry.

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